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  6 Attorney for Plaintiff,
    MICHAEL GRECCO PRODUCTIONS, INC.,
  7
  8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  9
    MICHAEL GRECCO PRODUCTIONS, Case No. 2:19-cv-04776-DSF-PJW
 10 INC. d/b/a MICHAEL GRECCO
    PHOTOGRAPHY, INC.,                    FIRST AMENDED COMPLAINT
 11                                       FOR COPYRIGHT INFRINGEMENT
                             Plaintiff,
 12
    v.
 13                                       DEMAND FOR JURY TRIAL
    ZIFF DAVIS, LLC; and DOES 1
 14 through 10 inclusive,
 15                             Defendant.
 16
 17
             Plaintiff, Michael Grecco Productions Inc. alleges as follows:
 18
                                  JURISDICTION AND VENUE
 19
             1.     This is a civil action seeking damages and injunction relief for
 20
      copyright infringement under the Copyright Act of the United States, 17 U.S.C. §
 21
      101 et seq.
 22
             2.     This Court has subject matter jurisdiction over Plaintiff’s claims for
 23
      copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
 24
             3.     This Court has personal jurisdiction over Defendant because Defendant
 25
      conducts business and/or resides within this judicial district, Defendant’s acts of
 26
      infringement complained of herein occurred in this judicial district, and Defendant
 27
      caused injury to Plaintiff within this judicial district.
 28
             4.     Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and

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  1 1400(a) in that this is the judicial district in which a substantial part of the acts and
  2 omissions giving rise to the claims occurred. Alternatively, venue is also proper
  3 pursuant to 28 U.S.C. § 1400(b) because the Defendant resides and has a regular and
  4 established place of business in this judicial district.
  5                                          PARTIES
  6          5.     Plaintiff Michael Grecco Productions, Inc. (“MGP”) is a California
  7 corporation with a principal place of business in Los Angeles, California.
  8          6.     Defendant Ziff Davis, LLC (“Defendant”) is a Delaware limited
  9 liability company registered to do business in California with a place of business in
 10 Culver City, California.
 11          7.     Plaintiff is unaware of the true names and capacities of the Defendants
 12 sued herein as DOES 1 through 10, inclusive, and for that reason, sues such
 13 Defendants under such fictitious names. Plaintiff is informed and believes and on that
 14 basis alleges that such fictitiously named Defendants are responsible in some manner
 15 for the occurrences herein alleged, and that Plaintiff’s damages as herein alleged
 16 were proximately caused by the conduct of said Defendants. Plaintiff will seek to
 17 amend the complaint when the names and capacities of such fictitiously named
 18 Defendants are ascertained. As alleged herein, “Defendant” shall mean all named
 19 Defendants and all fictitiously named Defendants.
 20          8.     For the purposes of this Complaint, unless otherwise indicated,
 21 “Defendant” includes all agents, employees, officers, members, directors, heirs,
 22 successors, assigns, principals, trustees, sureties, subrogates, representatives and
 23 insurers of the Defendants named in this caption.
 24                               FACTUAL ALLEGATIONS
 25                        Plaintiff Michael Grecco Productions, Inc.
 26          9.     MGP is a professional media and photography company run by
 27 renowned celebrity photographer Michael Grecco.
 28          10.    Grecco, is an award-winning commercial photographer and film

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  1 director noted for his iconic celebrity portraits, innovative magazine covers, editorial
  2 images and advertising spreads for such companies such as NBC/Universal, GE,
  3 Pfizer, HBO, Kodak, ABC, IBM, Yahoo!, ESPN, Wired, Time, Entertainment
  4 Weekly, Esquire, Premier, and MAXIM. His work is regularly featured in prestigious
  5 galleries around the world.
  6          11.   A portfolio of Grecco’s work, is available for viewing by general public
  7 through Plaintiff’s website http://www.michaelgrecco.com/.
  8          12.   Due to the high quality and limited availability of Grecco’s works,
  9 MGP routinely licenses and/or sells individual photographs for thousands of dollars.
 10          13.   MGP is the exclusive rights holder to two photographs taken by Grecco
 11 of actors Gillian Anderson and David Duchovny who starred on the hit television
 12 show The X-Files (the “Images”).
 13          14.   Attached hereto as Exhibit A are true and correct copies of the Images.
 14          15.   MGP has registered the Images with the United States Copyright Office
 15 under registration numbers VA 1-232-596 and VA 2-030-741 respectively.
 16                                Defendant Ziff Davis, LLC
 17          16.   According to its website, Defendant Ziff Davis LLC “is a leading
 18 global digital-media company” that “produce[s] and distribute[s] premium content
 19 across multiple platforms and devices.” See https://www.ziffdavis.com/.
 20          17.   Defendant claims that its platform has garnered 1.1 billion video views,
 21 1.6 billion total visits and 86 million shopping clicks.
 22          18.   In 2013, Defendant acquired AskMen® which Defendant claims “is the
 23 No. 1 authority on men’s lifestyle in the world, boasting a truly global audience
 24 reached by editions in the US, Canada, UK, Australia and licensed editions in
 25 Germany,         Turkey,      the      Middle       East     and      beyond.”      See
 26 https://www.ziffdavis.com/portfolio-item/askmen.
 27          19.   Defendant also owns IGN® “the leading Internet media company
 28 focused on the video game and entertainment enthusiast markets. IGN reaches more


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  1 than 151 million monthly users and is followed by more than 11 million subscribers
  2 on      YouTube     and     30    million    users    on     social   platforms.”     See
  3 https://www.ziffdavis.com/portfolio-item/ign.
  4          20.   Defendant owns and operates the websites www.askmen.com and
  5 www.ign.com (“Defendant’s Websites”) through which is promotes its AskMen® and
  6 IGN® properties.
  7                             Defendant’s Infringing Conduct
  8          21.   On or about November 2018, MGP discovered that Defendant used the
  9 Images on Defendants’ Websites after conducting a reverse image search of the
 10 Images.
 11          22.   Prior to discovering Defendant’s unauthorized use of the Images, MGP
 12 was not aware of Defendant’s had never been aware of any of its photographs being
 13 used by Defendant or on any of Defendant’s Websites.
 14          23.   The first Image appeared on Defendant’s Website www.askmen.com in
 15 an article titled “Emmy-Winning TV Series On Netflix: 18 Incredible Shows You've
 16 Never Seen Before That You Need To Netflix, ASAP.”
 17          24.   The second Image appeared on Defendant’s Website www.ign.com in
 18 an article titled “Gillian Anderson doesn’t think an X-Files movie would happen until
 19 2016; possibly too late for an invasion storyline.”
 20          25.   These will be collectively referred to as the “Infringing Articles.”
 21          26.   Attached hereto as Exhibit B are true and correct copies of the
 22 Infringing Articles.
 23          27.   MGP did not consent to authorize, permit, or allow in any manner the
 24 use of the Images by Defendant.
 25          28.   On information and belief, Defendant knew that it did not possess any
 26 rights in the Images and that its use of the Images was unauthorized.
 27 / / /
 28 / / /


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  1                            FIRST CAUSE OF ACTION
                              COPYRIGHT INFRINGEMENT
  2                               17 U.S.C. § 101 et seq.
  3         29.    Plaintiff incorporates by reference all of the above paragraphs of this
  4 Complaint as though fully stated herein. Plaintiff did not consent to, authorize,
  5 permit, or allow in any manner the said use of Plaintiff’s unique and original Images.
  6         30.    Plaintiff is informed and believes and thereon alleges that the
  7 Defendant willfully infringed upon Plaintiff’s copyrighted Images in violation of
  8 Title 17 of the U.S. Code, in that it used, published, communicated, benefited
  9 through, posted, publicized, and otherwise held out to the public for commercial
 10 benefit, the original and unique Images of the Plaintiff without Plaintiff’s consent or
 11 authority, and acquired monetary gain and market benefit as a result.
 12         31.    Specifically, Defendant copied and then publically displayed the
 13 Images on Defendant’s Websites in connection with the Infringing Articles.
 14         32.    Plaintiff is informed and believes that Defendant has the right and
 15 ability to supervise and control the content of Defendant’s Websites.
 16         33.    Plaintiff is informed and believes that Defendant receives a financial
 17 benefit from content posted to Defendant’s Websites in the form of, among other
 18 things, advertising revenue generated by visitors to Defendant’s Websites.
 19         34.    Plaintiff is informed and believes that the content on Defendant’s
 20 Websites acts as a draw for users of the Internet to visit Defendant’s Websites in
 21 order for Defendant to increase its advertising revenues.
 22         35.    As a result of Defendant’s violations of Title 17 of the U.S. Code,
 23 Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or statutory
 24 damages in an amount up to $150,000.00 if willful or up to $30,000 if unintentional
 25 pursuant to 17 U.S.C. § 504(c).
 26         36.    Plaintiff is also entitled to injunctive relief to prevent or restrain
 27 infringement of his copyright pursuant to 17 U.S.C. § 502.
 28 / / /


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  1                                  PRAYER FOR RELIEF
  2 WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
  3         •     For an award of actual damages and disgorgement of all of Defendant’s
  4 profits attributable to the infringement as provided by 17 U.S.C. § 504 in an amount
  5 to be proven or, in the alternative, at Plaintiff’s election, an award for statutory
  6 damages against Defendant in an amount up to $150,000.00 pursuant to 17 U.S.C.
  7 § 504(c), whichever is larger;
  8         •     For costs of litigation and reasonable attorney’s fees against Defendant
  9 pursuant to 17 U.S.C. § 505;
 10         •     For an injunction preventing Defendant from further infringement of all
 11 copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502;
 12         •     For an award of pre- and post-judgment interest; and,
 13         •     For any other relief the Court deems just and proper.
 14
      Dated: September 30, 2019                         Respectfully submitted,
 15
                                           /s/ Ryan E. Carreon
 16                                        Ryan E. Carreon, Esq.
                                           Cal. Bar No. 311668
 17                                        HIGBEE & ASSOCIATES
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 18                                        Santa Ana, CA 92705-5418
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 19                                        (714) 597-6559 facsimile
                                           Counsel for Plaintiff
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  1                             DEMAND FOR JURY TRIAL
  2         Plaintiff, Michael Grecco Productions, Inc., hereby demands a trial by jury in
  3 the above matter.
  4
  5 Dated: September 30, 2019                             Respectfully submitted,
  6                                          /s/ Ryan E. Carreon
                                             Ryan E. Carreon, Esq.
  7                                          Cal. Bar No. 311668
                                             HIGBEE & ASSOCIATES
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  9                                          (714) 617-8336
                                             (714) 597-6559 facsimile
 10                                          Counsel for Plaintiff
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  1                              CERTIFICATE OF SERVICE
  2          I hereby certify that on September 30, 2019, I electronically filed this
  3   FIRST AMENDED COMPLAINT
  4
      with the Clerk of the Court using the CM/ECF system, which will send notification
  5
      of such filing to the following:
  6
  7         Daniel Alexander Kadin
            daniel@ruttenbergiplaw.com, docket@ruttenbergiplaw.com
  8
  9         Guy Ruttenberg
            guy@ruttenbergiplaw.com, docket@ruttenbergiplaw.com
 10
 11   I certify under penalty of perjury under the laws of the United States that the
 12   foregoing is true and correct. Executed on September 30, 2019, at Santa Ana,
 13   California.
 14                                                  /s/ Ryan E. Carreon
                                                     Ryan E. Carreon
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